Case 2'02-Cr-20058-BBD Document 607 Filed 08/29/05 Page 1 of 2 Page|D 694

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United States District Court
FOR THE

WESTERN DISTRICT OF TEN`NESSEE

UNITED STATES OF AMERICA
v.

KEVA WADDLES
Crim. No. 2:02CR20058-03
On July 17, 2003, the above named was placed on Supervised Release for a period of three (3) years. She

has complied with the rules and regulations of Supervised Release and is no longer in need of Supervision. lt is
accordineg recommended that she be discharged from Supervised Release.

Respectfully submitted,

%,/f

Edward E. shaw "`_ '
U.S. Probation Officer
Electronic Monitoring Speciajist

ORDER OF THE COUR'I`

Pursuant to the above report, it is ordered that the defendant be
that the proceedings in the case be terminated

Datedthis 33 ’L¢\ dayof_Q%!LjOQ;./,

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with Rule 55 and.'or 32{b) FP\CrP on

discharged ii‘om Supervised Release and

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 607 in
case 2:02-CR-20058 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

